                                                                               027,21*5$17('
                                                                               IRUGDWHDQGWLPH
                                                                               UHTXHVWHG
                              UNITED STATES DISTRICT COURT                     
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

UNITED STATES OF AMERICA                       )
                                               )
Vs.                                            )        No. 3:13-00097-22
                                               )
SAMMIE LANETTE CRUTCHER                        )        Judge Kevin H. Sharp
                                               )


                               MOTION TO CONTINUE TRIAL

       Comes now the Defendant, Sammie Lanette Crutcher, by and through her undersigned

counsel, Bob Lynch, Jr., and respectfully requests this Honorable Court to continue the plea

hearing in this cause presently set for June 25, 2014, at 10:30 a.m. until Monday, July 14,

2014, at 3:00 p.m.

       Undersigned counsel is seeking this continuance on behalf of his client because she has

admitted to the hospital and cannot attend. Undersigned counsel has confirmed that the July 14th

date is convenient to all parties and the Court.




                                                        Respectfully Submitted,

                                                         /s/ Bob Lynch, Jr.
                                                        Bob Lynch, Jr. (BPR# 6298)
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